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            EXHIBIT F
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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   ORACLE AMERICA, INC.,                                     No. C 10-03561 WHA
                                                                         11
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                      ORDER GRANTING IN PART
                                                                         13                                                             MOTION TO STRIKE DAMAGE
                                                                              GOOGLE INC.,                                              REPORT OF PLAINTIFF
                                                                         14                                                             EXPERT IAIN COCKBURN
                                                                                            Defendant.
                                                                         15                                              /

                                                                         16                                          INTRODUCTION
                                                                         17          In this patent and copyright infringement action involving features of Java and Android,
                                                                         18   defendant moves to exclude the report and testimony of plaintiff’s damages expert. For the
                                                                         19   following reasons, the motion is largely GRANTED.
                                                                         20                                            STATEMENT
                                                                         21          The claims asserted in this action relate to the Java software platform, which was
                                                                         22   described in the claim construction order (Dkt. No. 137). The seven asserted patents purportedly
                                                                         23   cover inventions that improve the efficiency and security of Java. The copyright claim concerns
                                                                         24   the allegedly expressive elements of source code for Java class libraries. Java was developed by
                                                                         25   Sun Microsystems, Inc., in the 1990s, and it has become one of the world’s most popular software
                                                                         26   platforms. By using a “virtual machine,” Java enabled software developers to write programs that
                                                                         27   were able to run on a variety of different types of computer hardware. Java is commonly used on
                                                                         28   desktop computers to facilitate compatibility with application programs distributed through the
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                                                                          1   internet. A more recent “micro edition” of the Java platform known as Java ME is used in mobile
                                                                          2   computing devices.
                                                                          3          The accused product in this action is Android, a software platform that was designed
                                                                          4   specifically for mobile devices and that competes with Java in that market. Both Java and
                                                                          5   Android are complex platforms comprising virtual machines, programming languages,
                                                                          6   development and testing kits, software libraries, and other elements. Significantly, only part of
                                                                          7   Java and part of Android are said to embody the asserted claims. For example, the virtual
                                                                          8   machine concept underlying Java’s “write once, run anywhere” solution is not covered by the
                                                                          9   asserted claims and indeed was part of the prior art that predated Java. And, it is undisputed that
                                                                         10   the Java programming language is in the public domain and anyone was free to use it without
                                                                         11   charge, as Android does. The asserted patent claims purport to disclose only incremental
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                               For the Northern District of California




                                                                         12   improvements to the efficiency and security of the Java system. For its part, Android uses the
                                                                         13   Linux kernel and has many non-Java elements as well.
                                                                         14          Google acquired Android, Inc., in August 2005 and soon began discussing the possibility
                                                                         15   of taking a Java license from Sun for use in Android. The Android project sought to include a
                                                                         16   virtual machine that used Java technology in an open-source format — but for mobile
                                                                         17   applications. Historically, Sun never “refused to license any of the Java technologies,” and “the
                                                                         18   proportion of total Java licensing costs as against total software revenues [for Sun’s Java
                                                                         19   licensees was] de minimis” (Weingaertner Exh. H at 64–65). Sun, however, seemed reluctant to
                                                                         20   authorize an open-source implementation of Java technology, possibly for fear that it would
                                                                         21   decrease other Java licensing revenue (Norton Exh. D).
                                                                         22          In October 2005, following “discussions with Sun regarding Android’s Open Source VM
                                                                         23   strategy,” Google’s then Senior Vice President Andy Rubin remarked in an e-mail, “If Sun
                                                                         24   doesn’t want to work with us, we have two options: 1) Abandon our work and adopt MSFT CLR
                                                                         25   VM and C# language - or - 2) Do Java anyway and defend our decision, perhaps making enemies
                                                                         26   along the way” (ibid.). Google and Sun continued to negotiate over the next several months, but
                                                                         27   they were unable to reach a deal.
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                                                                                               •       Adjust upward due to the necessary assumption that all
                                                                          2                            claims asserted must be deemed valid and infringed
                                                                                                       (whereas in 2006 this was uncertain).
                                                                          3
                                                                                               •       Adjust upward or downward, as the case may be, for any
                                                                          4                            further changes known to the parties between the date of
                                                                                                       the offer and the date of first infringement.
                                                                          5
                                                                                               •       Adjust upward or downward for other comparables and
                                                                          6                            other Georgia-Pacific factors.
                                                                          7                    •       Adjust downward for the fact that the offer included a
                                                                                                       copyright license, an issue not addressed herein (and which
                                                                          8                            will not be addressed until the final report is done).
                                                                          9           This order does not absolutely rule out all other formats. The foregoing would seem to be
                                                                         10   a clear-cut starting point.
                                                                         11                                              CONCLUSION
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                               For the Northern District of California




                                                                         12           On reflection, the Court erred in inviting the damages report to be submitted earlier than
                                                                         13   normal. The Court’s express thinking was that allowing an earlier report would leave time to vet
                                                                         14   the analysis and then to adjust for the final report without trial delay. Instead, however, the patent
                                                                         15   owner here simply served a report that overreached in multiple ways — each and every overreach
                                                                         16   compounding damages ever higher into the billions — evidently with the goal of seeing how
                                                                         17   much it could get away with, a “free bite,” as it were. Please be forewarned: the next bite will be
                                                                         18   for keeps. If the next and final report fails to measure up in any substantial and unseverable way,
                                                                         19   including ways this order did not have time to reach, then it may be excluded altogether without
                                                                         20   leave to try yet again. While this order has not reached every possible criticism, Oracle must be
                                                                         21   aware that some of the unaddressed criticisms seem, at least on one reading, to have merit, so it
                                                                         22   should proceed with caution before overreaching again.
                                                                         23           If Oracle believes that it cannot craft a report until it figures out what patent claims (of the
                                                                         24   many currently asserted) it will actually assert at trial, that is a problem of its own making. If
                                                                         25   Oracle needs to postpone the October trial date until it settles on which claims it truly believes are
                                                                         26   triable, then it should bring a prompt motion to do so; otherwise, Oracle’s revised damages report
                                                                         27   limited to the claims actually to be tried will be due 35 DAYS before the final pretrial conference
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                                                                          1   and any responsive defense report will be due FOURTEEN DAYS before the final pretrial
                                                                          2   conference. The author of the report must, of course, sit for another deposition.
                                                                          3          With respect to a possible stay pending re-examination, the Court is yet unwilling to give
                                                                          4   up on the October trial date. This will be revisited in due course, and in any event at the final
                                                                          5   pretrial conference. A factor will be whether this case will be truly trial-ready.
                                                                          6
                                                                          7          IT IS SO ORDERED.
                                                                          8
                                                                          9   Dated: July 22, 2011.
                                                                                                                                    WILLIAM ALSUP
                                                                         10                                                         UNITED STATES DISTRICT JUDGE
                                                                         11
United States District Court
                               For the Northern District of California




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